                                              The motion is granted. From the face of the sealed document, it is
                                              clear that the interests in favor of sealing outweigh the legitimate
                                              interests of the public in accessing the sealed document.


                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
v.                                              )
                                                )       Case No. 3:22-CR-00282
GLEN CASADA and                                 )       District Judge Eli J. Richardson
CADE COTHREN                                    )       Magistrate Judge Alistair Newbern
                                                )
          Defendants.                           )


                         MOTION FOR LEAVE TO FILE UNDER SEAL

          Comes now Defendant Cade Cothren, by and through undersigned counsel, and

respectfully moves this Court for leave to file his Notice of Redacted Telephone Number under

seal.

     1. The Administrative Practices and Procedures for Electronic Case Filing (ECF) adopted by

          this Court in Administrative Order #167 at Section 5.07 requires a party seeking to file

          documents under seal to electronically file a motion for leave of the court to do so, via the

          court’s electronic filing system.

     2. Mr. Cothren, therefore, respectfully moves this Honorable Court for leave to file said

          pleading under seal.




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